     Case: 1:18-cv-05369 Document #: 37 Filed: 10/19/18 Page 1 of 2 PageID #:1099



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,


                            Plaintiff,

                    v.
                                                       Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.;                            JURY TRIAL DEMANDED
    BLIP NETWORKS, LLC;
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and DMITRY
    MOISEEV,

                            Defendants.


                     DEFENDANTS’ MOTION TO DISMISS
          UNDER FEDERAL RULES OF CIVIL PROCEDURE 12(b)(6) and 12(b)(1)

         Pursuant to the Court’s Order dated October 18, 2018 (DKT # 36), Defendants Cambium

Networks, Inc. (“Cambium”) and Cambium Networks, Ltd. (“Cambium UK”), Blip Networks,

LLC, Winncom Technologies, Inc., Sakid Ahmed, and Dmitry Moiseev (collectively the

“Defendants”), hereby move the Court to dismiss Ubiquiti Networks, Inc.’s complaint

(“Ubiquiti”) under Federal Rules of Civil Procedure 12(b)(6) and 12(b)(1). This Motion is based

on Defendants’ Memorandum filed October 15, 2018 (DKT # 33) and all evidence submitted in

support of it, as well as any further briefing and oral argument.




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     Case: 1:18-cv-05369 Document #: 37 Filed: 10/19/18 Page 2 of 2 PageID #:1100



Dated: October 18, 2018                   Respectfully submitted,

                                          MICHAEL BEST & FRIEDRICH, LLP

                                          /s/ James P. Fieweger
                                               One of their attorneys

                                          Arthur J. Gollwitzer (06225038)
                                          agollwitzer@michaelbest.com
                                          James P. Fieweger (6206915)
                                          jpfieweger@michaelbest.com
                                          MICHAEL BEST & FRIEDRICH, LLP
                                          444 West Lake Street, Suite 3200
                                          Chicago, Illinois 60606
                                          312.222.0800 (Phone)


                                          G. Hopkins Guy III (CA Bar No. 124811)
                                          hop.guy@bakerbotts.com
                                          Jon V. Swenson (CA Bar No. 233054)
                                          jon.swenson@bakerbotts.com
                                          Karina Smith (CA Bar No. 286680)
                                          karina.smith@bakerbotts.com
                                          BAKER BOTTS L.L.P.
                                          1001 Page Mill Road Building One, Suite 200
                                          Palo Alto, CA 94304-1007
                                          650.739.7500 (Phone)
                                          650.739.7699 (Facsimile)

                                          Andrew D. Wilson (DC Bar No. 1030144)
                                          1299 Pennsylvania Ave. NW
                                          Washington, DC 20004-2400
                                          202.639.1312 (Phone)
                                          202.508.9336 (Fax)
                                          andrew.wilson@bakerbotts.com

                                          Attorneys for Defendants Cambium Networks,
                                          Inc. et. al




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